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Case: 1:02-cr-00310 Document #: 172 Filed: 02/18/03 Page 2 of 18 PageID #:920
Case: 1:02-cr-00310 Document #: 172 Filed: 02/18/03 Page 3 of 18 PageID #:921
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